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6    Attorneys for Plaintiff
7
                        UNITED STATES DISTRICT COURT
8                      NORTHERN DISTRICT OF CALIFORNIA
9
     CATHERINE HOSINO, individually               )   Case No.
10   and on behalf of all others similarly        )
11   situated,                                    )    3:19-cv-03223-JSC
                                                  )
12
     Plaintiff,                                   )   JOINT STIPULATION OF
13                                                )   DISMISSAL OF ACTION OF THE
            vs.                                   )   INDIVIDUAL CLAIMS
14
                                                  )   WITH PREJUDICE AND THE
15   SPRINT SOLUTIONS, INC., and                  )   PUTATIVE CLASS CLAIMS
16
     DOES 1-10,                                   )   WITHOUT PREJUDICE
                                                  )
17   Defendant(s).                                )
18

19
     NOW COME THE PARTIES by and through their attorneys to respectfully move

20
     this Honorable Court to dismiss this matter with prejudice as to Plaintiff’s
21   individual claims and without prejudice as to the putative Class pursuant to
22   Federal Rules of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own
23   costs and attorney fees. A proposed order has been concurrently submitted to
24   this Court via email.
25
     ///
26

27   ///
28




                                       Stipulation to Dismiss- 1
            Case 3:19-cv-03223-JSC Document 27 Filed 02/07/20 Page 2 of 3




1         Respectfully submitted this 7th Day of February, 2020,
2
                                 LAW OFFICES OF TODD M. FRIEDMAN P.C
3                                      By: s/Adrian R. Bacon Esq.
4                                           ADRIAN R. BACON
                                           Attorney for Plaintiff
5

6                                             By:       /s/ Jamie D. Wells
7
                                                            Jamie D. Wells
                                                        McGuireWoods LLP
8                                                       Attorney for Defendant
9

10
                                   Signature Certification
11
           Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
12
     Policies and Procedures Manual, I hereby certify that the content of this
13

14
     document is acceptable to counsel for Defendant and that I have obtained their

15
     authorization to affix their electronic signature to this document.

16
     Dated: February 7, 2020 LAW OFFICES OF TODD M. FRIEDMAN, P.C.
17

18                                 By: _s/ Adrian R. Bacon
19                                     Adrian R. Bacon ESQ.
                                         Attorney for Plaintiff
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                                      Stipulation to Dismiss- 2
             Case 3:19-cv-03223-JSC Document 27 Filed 02/07/20 Page 3 of 3




1    Filed electronically on this 7th Day of February, 2020, with:
2
     Notification sent electronically via the Court’s ECF system to:
3

4    Honorable Judge of the Court
     United States District Court
5

6    All Counsel of Record as Recorded On The Electronic Service List.
7
     This 7th Day of February, 2020.
8
     s/Adrian R. Bacon
9    ADRIAN R. BACON
10

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                                       Stipulation to Dismiss- 3
